                                                                                  CLERK'S OFFICE U.S. OIST. COURT
                                                                                          AT ROANOKE, VA
                                                                                               FILED

                      IN THE UNITED STATES DISTRICT COURT                                  MAR 05 2U19
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                               DANVILLE DIVISION                                     . JULitfn~·
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   UNITED STATES OF AMERICA,                    )
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                                                )       Case No. 4:18-cr-00012
                                                )
   v.                                           )
                                                )
   DASHAWN ANTHONY, et al.,                     )
                                                )       By:    Michael F. Urbanski
           Defendants.                          )              United States District Judge

                        THIRD AMENDED SCHEDULING ORDER*


           In order·to protect the rights of the parties and ensure the timely and efficient trial of

   this large, complex criminal case, the following pretrial deadlines are established:


           1.     This case is set for trial for seven weeks to begin on January 13,2020 in the

   first floor courtroom in Roanoke.

           2.     The government shall substantially complete all pretrial discovery by April1,

   2019.

           3.     The government shall identify its case-in-chief trial witnesses and provide

   digital copies of its trial exhibits to the clerk and defense counsel by September 6, 2019.

           4.     The defendants shall flle any objections as to the authenticity, foundation, and

   completeness of the government's trial exhibits by October 25, 2019.

           5.     The government shall flle its proposed jury instructions and verdict fQrm by

   November 22,2019.




   * Changes to the dates and deadlines are bolded.
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          6.     The defendants shall file any objections to the government's proposed jury

   instructions and verdict form by December 13, 2019.

          7.     The court will conduct pretrial hearings on the following dates and times in

   the first floor courtroom in Roanoke:

                 a.. Friday, January 25, 2019 at 2 p.m. At this hearing, the court will address all

                    pretrial motions noticed by the parties.

                 b. Friday, April19, 2019 at 2 p.m. At this hearing, the court will address all

                    motions to sever, composition of the jury, a proposed jury questionnaire,

                    and other pretrial matters noticed by the parities. Pursuant to Fed. R.

                    Crim. P. 12(c)(3), absent good cause, the court will not address pretrial any

                    other motions to sever after this hearing.

                 c. Friday, June 7, 2019 at 2 p.m. At this hearing, the court will address any

                    motions to dismiss the indictment and other pretrial matters noticed by the

                    parties. Pursuant to Fed. R. Crim. P. 12(c)(3), absent good cause, the court

                    will not address pretrial any motions to dismiss the indictment after this

                    hearing.

                 d. Friday, July 19,2019 at 2 p.m. At this hearing, the court will address any

                    motions to suppress and other pretrial matters noticed by the parties.

                    Pursuant to Fed. R. Crim. P. 12(c)(3), absent good cause, the court will not

                    address pretrial any other motions to suppress after this hearing.

                 e. Friday, December 6, 2019 at 10 a.m. At this hearing, the court will address

                    objections as to the authenticity, foundatiort, and completeness of the


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                         government's trial exhibits and other pretrial matters noticed by the

                         parties. Pursuant to Fed. R. Crim. P. 12(c)(3), absent good cause, the court

                         will not address pretrial any other objections as to the authenticity,

                         foundation, and completeness of the government's trial exhibits after this

                         hearing.

                    f.   Friday, December 20,2019 at 10 a.m. At this hearing, the court will

                         address any motions in limine and other pretrial matters noticed by the

                         parties. Pursuant to Fed. R. Crim. P. 12(c)(3), absent good cause, the court

                         will not address pretrial any other motions in limine after this hearing.

                    g. Friday, January 3, 2020 at 10 a.m. Final Pretrial Conference.

          8.     All pretrial motions shall be filed by the parties no later than twenty-one (21)

   days before the date set for hearing, pursuant to Fed. R. Crim. P. 12(c)(1). A motion must

   state the grounds on which it is based and the relief or order sought. Motions raising

   questions of law must be supported by legal memoranda filed contemporaneously therewith.

          9.     A party opposing a pretrial motion shall file its response and legal

   memorandum no later than fourteen (14) days after the corresponding deadline for filing

   of the motion.

          10.    The court's August 27, 2018 order, ECF No. 163, setting deadlines for

   motions to dismiss based on the Fourth Circuit's decision in United States v. Simms, 914

   F.3d 229 (4th Cir. 2019) is vacated. All motions to dismiss shall be flied in accordance with

   the schedule set forth above.




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          11.   Should the parties wish to address any issues regarding the schedule of this

   case, they should contact the court's Courtroom Deputy Clerk Kristin Ayersman at

   Kristina@vawd.uscourts.gov (540) 857-5153. Any other matters needing the court's

   attention may be directed to the court's Law Clerks David Kahan at

   Davidk@vawd.uscourts.gov (540) 857-5124 or Allison Bailey at

   Allisonbb@vawd.uscourts.gov (540) 857-5124.

         It is so ORDERED.


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                                             Michael F. Urbanski
                                             United States District Judge.




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